       Case 3:22-cr-02191-JLS Document 12 Filed 09/30/22 PageID.18 Page 1 of 1




 1
 2
 3
 4                              UNITED STATES DISTRICT COURT
 5                         SOUTHERN DISTRICT OF CALIFORNIA
 6   UNITED STATES OF AMERICA,                    Case No.: 22-CR-02191-JLS
 7
                   Plaintiff,
 8
            v.                                    ORDER GRANTING JOINT MOTION
 9                                                TO CONTINUE JURY TRIAL AND
     CARLOS BARRAGAN LEON,                        MOTION HEARING
10
                  Defendant.
11
12
13
14         Upon joint motion of the parties, IT IS HEREBY ORDERED that the motion in
15 limine hearing, currently scheduled for October 14, 2022, be rescheduled to January 13,
16 2023, at 2:00PM, and the jury trial currently scheduled for October 17, 2022, be
17 rescheduled to January 23, 2023, at 9:00AM. Time is excluded under the Speedy Trial
18 Act pursuant to 18 U.S.C. § 3161(h)(1)(D) due to pending pretrial motions, and pursuant
19 to 18 U.S.C. § 3161(h)(7)(A) in the interests of justice for the reasons stated in the motion.
20       SO ORDERED.
21 Dated: September 30, 2022
22
23
24
25
26
27
28
